                           EXHIBIT 1

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                                                             Office of the Senior Associate Dean for Academics


December 19, 2023

Ian Hunter Lucas
221 Charleston Ave
Pleasant View, TN 37146-5500

Correspondence sent securely via encrypted email to ian.h.lucas.1@vanderbilt.edu

Dear Ian,
The MN Student Admissions and Academic Progression (SAAP) Committee reviewed your record in its entirety at
the end of the fall 2023 semester. I regret to inform you that you are dismissed from Vanderbilt University School
of Nursing and the MN Program in compliance with the VUSN Academic Policy.

You earned an F grade in both NURS 5815: Nursing Care of Childbearing Families and NURS 5825: Nursing Care
of Adults with Complex Illness, resulting in a semester grade point average of 2.811. According to the academic
policies, “Students must earn a B– or higher or Satisfactory/Pass grade in all required courses (including elective
courses required within a program of study). If a grade of less than a B- or a grade of Unsatisfactory/Fail is
earned, the course must be repeated.”

According to the academic policies, “good academic standing is defined as all the following:
   x a semester GPA of 3.0 or higher;
   x a cumulative GPA of 3.0 or higher;
   x all grades B- or higher; and
   x all grades Satisfactory.”

Further,




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